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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in compliance with D.N.J. LBR 9004-1(b)

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     Counsel to Arnold & Itkin LLP



     In re:                                                              Chapter 11

     LTL MANAGEMENT LLC,                                                 Case No. 21-30589 (MBK)

                                     Debtor. 1                           Hearing Date and Time:
                                                                         Feb. 15, 2022 at 10:00 a.m. (ET)


                     NOTICE OF MOTION TO DISMISS BANKRUPTCY CASE

              PLEASE TAKE NOTICE that, on February 15, 2022 at 10:00 a.m., or as soon

 thereafter as counsel may be heard, the law firm of Arnold & Itkin LLP (“Arnold & Itkin”), on

 behalf of certain personal injury claimants represented by Arnold & Itkin (the “Movants”),

 through its undersigned counsel, shall move before the Honorable Michael B. Kaplan, United

 States Bankruptcy Judge, at the United States Bankruptcy Court, Clarkson S. Fisher U.S.

 Courthouse, 402 East State Street, Trenton, New Jersey 08608, for the entry of an order


 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.


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 dismissing this case pursuant to section 1112(b) of the Bankruptcy Code and Rule 1017 of the

 Federal Rules of Bankruptcy Procedure (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that, in support of the Motion, Arnold & Itkin

 will rely upon the declaration of Laura Davis Jones and the memorandum of law submitted

 herewith pursuant to D.N.J. LBR 9013-1(a).

         PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2, responsive

 papers, if any, must be filed with the Clerk of the Bankruptcy Court, Clarkson S. Fisher

 Courthouse, 402 East State Street, Trenton, New Jersey 08608, and served upon (a) Arnold &

 Itkin’s undersigned counsel, (b) Debtor’s counsel, (c) the proposed counsel to the Official

 Committee of Talc Claimants, (d) the proposed Future Claimants’ Representative and his

 counsel, and (e) any other party entitled to notice no later than seven (7) days prior to the

 hearing.

         PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed and

 served, the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d) and

 the relief may be granted without a hearing.




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 Dated: December 9, 2021                        PACHULSKI STANG ZIEHL & JONES LLP


                                                By: /s/ Colin R. Robinson
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